Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 1 of 32




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

 Criminal Case No. 12-cr-00033-JLK

 UNITED STATES OF AMERICA,
      Plaintiff,
 v.

  2. BAKHTIYOR JUMAEV,                              RESTRICTED LEVEL 1
      Defendant.




           BAKHTIYOR JUMAEV’S SENTENCING STATEMENT AND
                   MOTION FOR VARIANT SENTENCE


       Mr. Jumaev, through his counsel and pursuant to D.C.COLO. LCrR

 32.1(a)(2) and (c), submits his Sentencing Statement (“Statement”) and Motion

 for Variant Sentence:

                                 I. INTRODUCTION

       Bakhtiyor Jumaev, a simple man beloved by his family, who has spent

 more than 76 months in custody since his arrest, will soon stand before the Court

 for sentencing. The issue before the Court is how many more months of

 imprisonment will serve the goals of sentencing of a man who never participated

 in or planned any act of violence, and who has no political or religious affiliation

 or connection to the organization to which he has been convicted of providing

 material support.
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 2 of 32




       Mr. Jumaev believes that the appropriate sentence for him under the facts

 and circumstances of this case should be the time he has already served in

 custody, namely from his arrest on March 15, 2012 to the sentencing date of July

 18, 2018. That period of detention amounts to approximately 6.3 years, or 76

 months. With credit for time served, he has essentially served a sentence of

 approximately 7.5 years or 90 months.1

       Mr. Jumaev disagrees with the Government’s recommendation of a

 sentence of 180 months (15 years), believing it is too harsh, greater than

 necessary to comply with the factors and purposes set forth in 18 U.S.C.

 3553(a), fails to take into account the factors described in 18 U.S.C. §3661, and

 is not tailored to the specific facts of this case and Mr. Jumaev personally. See

 Government’s Amended Sentencing Statement (“Gvt SS”) (Doc. 1884). Although

 the Presentence Investigation Report (“PSR”) (Doc. 1885) addresses more of the

 foregoing issues in a much more measured and reasonable manner, the PSR

 nevertheless relies too heavily in certain instances on the Gvt SS, including, but

 not limited to: The Offense Conduct, ¶¶ 7-25; the Adjustment for Obstruction

 of Justice, at ¶¶ 27-28; the Offense Level Computation, at ¶¶ 34-43; and the

 Criminal History Computation, at ¶ 48.




 1 Federal prisoners who earn good time credit generally serve 85 percent of a sentence
 of over one year. See 18 U.S.C. § 3624(b)(1). See also BOP Program Statement
 P5100.08, Inmate Security Designation and Custody Classification (Sept. 12, 2006),
 available at https://www.bop.gov/policy/progstat/5100_008.pdf.
                                             2
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 3 of 32




       The PSR, however, at ¶¶ 106 and 107, does recognize factors that warrant

 a downward departure and a variant sentence outside the advisory guideline

 range. Its sentencing recommendation of a concurrent sentence of 108 months,

 although more in keeping with the mandate of 18 USC §3553(a) than the Gvt SS,

 is still greater than necessary.

                                II. RELEVANT FACTS

       A. The Government’s Recitation of Facts Repeated in the PSR

       During more than six years of pretrial litigation, the trial testimony from Mr.

 Jumaev and others, and the PSR, the Court has become familiar with Mr.

 Jumaev’s    familial,   education,   social,   and   employment   history,   relevant

 background information, and personal characteristics. Unless noted otherwise in

 any objections filed to the PSR, Mr. Jumaev incorporates herein the PSR’s

 recitation of his history and background at ¶¶ 53 to 87, and further refers the

 Court to the trial testimonies of himself, Zavkibeg Ashurov (aka Abduvahob),

 Mansur Niyazov, Ilkhom Sobirov (aks Zafar), Karim Pulatov, and Davlat Jumaev,

 as they also relate to the foregoing subjects. Additional facts not sufficiently

 discussed in any of the above-sources will be provided below.

       In particular, the Government’s Section II, “Facts of Conviction,” provided

 in Doc. 1884 at 2-9, is misleading since it presumes to know what the jury

 considered in reaching its verdicts, particularly in light of the various alternative

 legal theories that subjected Mr. Jumaev to verdicts of guilty. For example, the

                                            3
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 4 of 32




 Court’s instruction No. 19 enabled the jury to convict Mr. Jumaev as an aider and

 abettor, finding that he both intended to pay his debt, while at the same time

 knowing that the money was intended for the IJU. It is thus equally speculative

 for Mr. Jumaev to opine what was in the jury’s mind as it is for the Government to

 play the same role of mind reader. The Government’s recitation of “facts” viewed

 from its narrow lens is admittedly repeated verbatim in the PSR. ¶¶ 7-25.

       B. Repayment of Debt, Support of the IJU, or Both?

       For nearly a year after Mr. Jumaev’s release from immigration detention in

 April 2010, he and Mr. Muhtorov fostered a friendship and communicated

 frequently over the phone. Tr. 4/10/18 at 1166-1169. It took a while for Mr.

 Jumaev to find work again, but after he did, he continued with the simple lifestyle

 to which he had become accustomed. Trial Stipulation, ¶¶ 1-2.      Omnipresent in

 that lifestyle were his financial obligations: support of his family, debt to his

 landlord, debts to his bond contributors, fees owed his immigration lawyer, and

 his personal necessities. Id., see also trial Exhibit 660A.      At the time, Mr.

 Muhtorov was also living paycheck by paycheck to support his wife and children.

 Id.

       During the early part of 2011, Mr. Muhtorov began talking about his

 financial woes to Mr. Jumaev. Tr. 4/10/18 at 1170. Mr. Jumaev interpreted those

 comments as Mr. Muhtorov’s hinting that he wanted to get repaid his $500 but

 too embarrassed to directly ask for his money back. Id.    This manner of indirect

                                         4
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 5 of 32




 communication was culturally classic Uzbek. Id. at 1171. As a result and having

 $300 available to send Mr. Muhtorov as partial payment of that debt, Mr. Jumaev

 during early March of 2011, informed his close friend Ilkhom Sobirov (aka Zafar)

 that he, Mr. Jumaev, was going to send Mr. Muhtorov $300 in cash as partial

 payment of the debt. Id. Zafar cautioned Mr. Jumaev about sending cash in the

 mail and suggested the alternative of, in exchange for Mr. Jumaev’s $300 cash,

 Zafar’s writing a check on his account for that sum payable to Mr. Muhtorov and

 Mr. Jumaev sending that check in the mail to Mr. Muhtorov. Id. at 1171-72. That

 was the check dated March 10, 2011 in the amount of $300. Id. at 1173-74; Trial

 Exh. 777.

       The check was received in the mail by Mr. Muhtorov’s wife, Nargiza, who

 informed her husband of its receipt and asked what she should do with it. Tr.

 4/16/18 at 1486-87.     Mr. Muhtorov told his wife to deposit the check in her

 personal checking account and to use the money for family expenses; that’s what

 she did. Id.; Trial Exh. 736.

       The Government argued that certain calls concerned Mr. Jumaev sending

 the money for the support of the IJU while Mr. Jumaev insisted the money was

 sent for repayment of his debt. Tr. 4/10/18 at 1174. The Government’s theory

 was purportedly supported by evidence of (1) Mr. Jumaev’s interest, support, and

 praise of a designated foreign terrorist organization (“DFTO”), such as the IMU

 and one of its founders Tohir Yuldashev; (2) the Opera Web History found on his

                                        5
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 6 of 32




 computer; (3) comments he made on his You Tube account after viewing certain

 videos on that site; and (4) inculpatory admissions he made during his post-

 arrest interrogation of March 15, 2012. See, e.g., Tr. 4/3/18 at 910-13; and Doc.

 1884 at 5-9.

       Conversely, Mr. Jumaev contended his Opera Web History showed a user

 roaming from one site to another for minimal periods of a minute or less, that his

 praise of Yuldashev emanated from the latter’s courage and criticisms of the

 Karimov regime before Yuldashev became a co-founder of the IMU, and that his

 You Tube comments characterizing his three sons as muhjahid were identifying

 them as carrying the word of Allah in a peaceful way as opposed to a violent

 jihadist manner. Tr. 4/10/18 at 1202-05; 1216-18. According to Dr. Marc

 Sageman, Mr. Jumaev’s terrorism expert, Mr. Jumaev did not even satisfy the

 first essential criteria of the pathway to political violence, namely, the acquisition

 of a politicized social identity, which would lead to identifying with a political

 protest community, such as the IJU. Tr. 4/24/18 at 2116-2120, 2125-2126.

       As the jury was instructed, Mr. Jumaev could be convicted as a member of

 the conspiracy even though he played a minor part in it. See Instruction No. 16.

 He further could be convicted also of Count 2 even if did not personally provide

 or attempt to provide at least $300 to the IJU but if he helped Mr. Muhtorov to

 commit the crime, i.e., if he aided or abetted Mr. Muhtorov . See Instruction No.

 18. The jury was further permitted to find Mr. Jumaev guilty of Count 2 even if it

                                           6
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 7 of 32




 was determined that he did not actually commit or personally aid and abet in the

 commission of that offense. See Instruction No. 19. Thus, Mr. Jumaev could

 have intended to repay a portion of the debt he owed Mr. Muhtorov by mailing

 the $300, while at the same time, knowing Mr. Muhtorov was planning to send

 that money to the IJU and encouraging him to do so.

   III. LAW REGARDING APPLICATION OF THE SENTENCING GUIDELINES

       Since the Supreme Court in United States v. Booker, 543 U.S. 220, 264-65

 (2005) ruled that the Sentencing Guidelines were merely advisory, judges are

 permitted to consider arguments that the applicable guidelines fail to properly

 reflect § 3553(a) considerations, reflect an unsound judgment, do not treat

 defendant characteristics in the proper way, or that a different sentence is

 appropriate regardless. Rita v. United States, 551 U.S. 338, 357 (2007).       In

 addition, judges “may vary [from Guideline ranges] based solely on policy

 considerations, including disagreements with the Guidelines.”      Kimbrough v.

 United States, 552 U.S. 85, 101 (2007).     Under § 3553(a), district courts will

 need only to “consider” the guideline range as one of many factors in the

 determination of the appropriate sentence. Booker, 543 U.S. at 234.

       In determining a sufficient sentence, this Court may not presume that the

 recommended guidelines sentence is the correct one. Rita, 551 U.S. at 351.

 Rather, after accurately calculating the advisory range so that it “can derive

 whatever insight the guidelines have to offer, [the district court] must sentence

                                        7
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 8 of 32




 based on 18 U.S.C. § 3553(a) without any thumb on the scale favoring a

 guidelines sentence.” United States v. Sachsennaier, 491 F.3d 680, 685 (7th Cir.

 2007).

       While the Guidelines are the starting point in a sentencing determination,

 there is “no longer a limit [previously applicable to departures] on the variances

 from guidelines ranges that a district court may find justified under the sentencing

 factors set forth in [section 3553(a)].” Irizzarry v. United States, 553 U.S. 708,

 715 (2008). Moreover “[n]o limitation shall be placed on the information

 concerning the background, character, and conduct of a person convicted of an

 offense which a court of the United States may receive and consider for the

 purpose of imposing an appropriate sentence.” 18 U.S.C. § 3661; see also

 United States v. Magallanez, 408 F.3d 672, 684 (10th Cir. 2005). Furthermore, a

 factor’s disfavor by the Guidelines no longer excludes it from consideration under

 §3553(a). See United States v. Munoz-Nava, 524 F. 3d 1137, 1146, 1148 n. 6

 (10th Cir. 2008) (approving district court’s emphasis on defendant’s family ties

 and responsibilities, notwithstanding U.S.S.G. §5H1.6 provides that such factors

 are not ordinarily relevant in determining whether a departure may be warranted).

 Thus, “[d]istrict courts are granted wide discretion in choosing which factors to

 rely on in determining whether a variance is justified under §3553(a), and may

 choose to rely on factors disfavored by the Sentencing Commission. United

 States v. Sayad, 589 F.3d 1110, 1118 n. 4 (10th Cir. 2009).

                                          8
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 9 of 32




  IV. THE UPWARD ADJUSTMENTS PROPOSED BY THE GOVERNMENT DO
                          NOT APPLY

       A. The Terrorism Adjustment, USSG § 3A1.4, is Inapplicable

       In the Gvt SS at 10-11, the Government argues, without any analysis, the

 applicability of the so-called “terrorism enhancement,” USSG § 3A1.4.            Mr.

 Jumaev disagrees that 3A1.4 applies to his case. That guideline states:

       (a) If the offense is a felony that involved, or was intended to
       promote, a federal crime of terrorism, increase by 12 levels; but if the
       resulting offense level is less than level 32, increase to level 32.

       (b) In each such case, the defendant’s criminal history category
       from Chapter Four (Criminal History and Criminal Livelihood) shall
       be Category VI.

       Thus, § 3A1.4 is satisfied if the offense is felonious conduct that: 1)

 “involved” a crime of terrorism, or 2) was “intended to promote” a crime of

 terrorism. See United States v. Awan, 607 F.3d 306, 311 (2d Cir. 2010); see also

 United States v. Fidse, 862 F.3d 516, 522 (5th Cir. 2017) (stating that courts

 “have recognized that the structure of § 3A1.4 establishes two bases for applying

 the enhancement).

       Application Note 1 to § 3A1.4 states that a “federal crime of terrorism” has

 the meaning given that term in 18 U.S.C. § 2332b(g)(5), which in turn defines a

 “federal crime of terrorism” as “an offense that (A) is calculated to influence or

 affect the conduct of government by intimidation or coercion, or to retaliate

 against government conduct; and (B) is a violation of [the enumerated statutes].”


                                          9
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 10 of 32




 18 U.S.C. § 2339B, providing material support to a terrorist organization, is one

 of the enumerated statutes.

             1. The “Involved” Component of § 3A1.4

                    a. Legal Standard

       Under the “involved” alternative of § 3A1.4, the Government must prove by

 a preponderance of the evidence that Mr. Jumaev’s conduct was “calculated to

 influence or affect the conduct of government by intimidation or coercion, or to

 retaliate against government conduct” under 18 U.S.C. § 2332b(g)(5)(A). Awan,

 607 F.3d at 316. The defendant in Awan was convicted of violating 18 U.S.C. §

 2229A (providing material support to terrorists) and related offenses after using

 bank accounts to transfer money to a terrorist organization (the “KCF,” whose

 leader was Singh Panjwar) responsible for carrying out murders and bombings in

 India. Awan, 607 F.3d at 310. After the district court refused to apply the § 3A1.4

 terrorism enhancement at sentencing, the Second Circuit explicated the

 enhancement. The court remanded for resentencing without taking a position

 about whether the enhancement was applicable.

       Considering § 3A1.4’s “involved” prong, the court in Awan reasoned that:

       whatever Awan’s motive might have been in committing the crimes
       for which he was convicted, commission of crimes listed in §
       2332b(g)(5)(B) satisfies the “involved” prong of the terrorism
       enhancement so long as the government shows by a preponderance
       of the evidence that Awan had the “specific intent” to commit an
       offense that was “calculated to influence or affect the conduct of
       government by intimidation or coercion, or to retaliate against
       government conduct.”
                                         10
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 11 of 32




 608 F.3d at 317 (internal citation to United States v. Stewart, 590 F.3d 93, 138

 (2d Cir. 2009) omitted). The court clarified that even though “there is little doubt

 that Awan (1) knew that the objective of Panjwar and the KCF was to influence

 the Indian government through violence, and (2) knew that the money he

 provided to the KCF would be used toward that end,” the government still must

 prove by a preponderance of evidence “that Awan’s offenses themselves were

 ‘calculated to influence . . . the conduct of government . . .’ even if he lacked a

 specific political motive for committing them.” Id. See also United States v. Fawzi

 Mustapha Assi, 428 F. App’x 570, 572 (6th Cir. 2011) (“The Terrorism

 Enhancement, § 3A1.4, only applies to violations of 18 U.S.C. § 2339B where the

 evidence shows that the defendant provided support to a foreign terrorist

 organization with the intent to influence or affect the conduct of government by

 intimidation or coercion, or to retaliate against government conduct.’” (quoting 18

 U.S.C. § 2332b(g)(5)(A)). There the court recognized:

       [I]t is possible to be guilty of providing material support to a foreign
       terrorist organization but not qualify for the Terrorism Enhancement.
       This scenario would arise if the material support was not intended to
       influence or affect a government's conduct by intimidation or
       coercion.

 Fawzi Mustapha Assi, 428 F. App’x at 572.

       Further, in United States v. Stewart, 590 F.3d 93 (2d Cir. 2009), a case

 that involved three defendants who were convicted on charges related to

 conspiracies to kill persons in foreign countries to defraud the United States, the
                                         11
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 12 of 32




 district court declined to apply the terrorism enhancement to co-defendant

 Yousry, explaining:

       This is a motivational requirement and focuses on the defendant’s
       purpose. The government has conceded the lack of motivation or
       purpose and has failed to show that the defendant’s offenses were
       calculated to influence or affect the conduct of government by
       intimidation or coercion or to retaliate against government action.

 Id. at 138. The Second Circuit affirmed the district court’s decision. Id. at 138-39.

       Finally, in United States v. Chandia, 514 F.3d 365 (4th Cir. 2008), the court

 remanded for resentencing after the district court applied the §3A1.4 adjustment

 without making necessary findings. The circuit court stated:

       Chandia's PSR stated that the terrorism enhancement applied but
       gave no explanation for this conclusion. Chandia's convictions under
       the material support statutes clearly satisfied the first element of the
       enhancement. However, the PSR did not contain any factual
       assertions and the district court did not make any factual findings
       related to the intent element. Instead, both appeared to assume
       (erroneously) that the enhancement automatically applies to a
       material support conviction.

 Id. at 376.

                    b. Application

       The Government failed to prove by a preponderance of evidence that Mr.

 Jumaev had the specific intent to commit a crime of federal terrorism as defined

 by 18 U.S.C. § 2332b(g)(5)(A). While Mr. Jumaev was aware of the IJU in a very

 general sense, he had no knowledge that any IJU member or supporter was

 planning a politically-motived act of violence. The record is devoid of any credible

 evidence that Mr. Jumaev knew about any plan to commit a politically-motivated
                                          12
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 13 of 32




 crime of violence against any government. Mr. Jumaev had no affiliation with the

 IJU and was not a part of any of its decision-making structures. Because the

 Government has failed to meet its burden, the Court should find the “involved”

 prong inapplicable.

              2. The “Intended to Promote” Component of § 3A1.4

                    a. Legal Standard

       The “intended to promote” prong “applies where the defendant’s offense is

 intended to encourage, further, or bring about a federal crime of terrorism, even

 though the defendant’s own crime of conviction or relevant conduct may not

 include a federal crime of terrorism.” Awan, 607 F.3d at 314. “To qualify as a

 federal crime of terrorism that may serve as a predicate for a § 3A1.4

 enhancement, an offense must be listed in 18 U.S.C. § 2332b(g)(5)(B) and, in

 addition, it must be an ‘offense that . . . is calculated to influence or affect the

 conduct of government by intimidation or coercion, or to retaliate against

 government conduct,’ as provided by 18 U.S.C. § 2332b(g)(5)(A).” Id. “Under the

 ‘intended to promote’ prong, however, so long as the defendant’s offense was

 intended to encourage, further, or bring about a federal crime of terrorism as

 statutorily defined, the defendant himself does not have to commit an offense

 listed in § 2332b(g)(5)(B), and the defendant’s offense need not itself be

 ‘calculated’ as described in § 2332b(g)(5)(A).” Id. (citations omitted).




                                          13
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 14 of 32




       Summarizing the standard for applying § 3A1.4, the Second Circuit in

 Awan stated:

       [T]he application of § 3A1.4 . . . does not require a finding that Awan
       was personally motivated by a desire to influence or affect the
       conduct of government. Rather, the government need only
       demonstrate that Awan intended to promote a crime calculated to
       have such an effect, i.e., that his offenses were intended to promote
       a federal crime of terrorism as defined in § 2332b(g)(5), whatever
       Awan’s reason for committing them.

 Id. at 315-316 (internal citation omitted).

                     b. Application

       All of the arguments concerning the inapplicability of “involved” prong are

 reasserted here in relation to the “intended to promote” prong. Furthermore, the

 Government failed to prove by a preponderance of evidence that the “intended to

 promote” prong is applicable to Mr. Jumaev. While there was testimony at trial

 that the IJU had been involved in past acts of violence, there was no credible

 evidence that the IJU was involved in any specific acts of murder, kidnapping,

 maiming, or terroristic activities intended to influence or affect the conduct of the

 any government by intimidation or coercion, or to retaliate against government

 conduct, during the time frame the operative indictment alleged Mr. Jumaev

 conspired and provided material support to the IJU. Thus, Mr. Jumaev could not

 have promoted crimes of federal terrorism that did not exist and that were not

 being planned by the IJU.




                                           14
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 15 of 32




        While there was evidence that Mr. Jumaev commented on a propaganda

 video produced by the IMU during an unknown time frame, and that Mr.

 Muhtorov told Mr. Jumaev that people at the “wedding party” were thankful for a

 wedding gift, Mr. Jumaev never discussed any act of violence with Mr. Muhtorov.

 The tape recorded conversations signified nothing more than bluster and puffery

 by Mr. Jumaev, without Mr. Jumaev promoting any act of violence. During the

 thousands of hours of intercepted phone calls and listening devices installed in

 Mr. Jumaev’s apartment, there were never any conversations during which Mr.

 Jumaev promoted any act of violence.

       In sum, the Government has failed to prove by a preponderance of

 evidence that the § 3A1.4 enhancement is applicable under the “involved” prong

 or under the “intended to promote” prong. As has been noted, “[t]he sentencing

 enhancement provided by § 3A1.4 is ‘steep.’” United States v. Fidse, 862 F.3d at

 522 (quoting United States v. Fidse, 778 F.3d 477, 481 (5th Cir. 2015)). The

 severe enhancement should not be applied to Mr. Jumaev.

       However, If the Court does find § 3A1.4 applicable, then the Court should

 grant Mr. Jumaev a substantial downward departure and/or variance under §

 4A1.3 or § 3553(a) as set forth more fully below. The PSR is in accord with this

 approach, and its recommendation of a sentence of 108 months is closer to but

 nevertheless still some distance from the sentence recommended by Mr.

 Jumaev. See PSR at ¶¶ 106-107 and R-2 thru R-4.

                                        15
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 16 of 32




       B. The Obstruction of Justice Adjustment, USSG § 3A1.4, Is
       Inapplicable

       The Gvt SS at 11, and the PSR at ¶¶ 38-39, albeit more tepidly, argue for

 an upward adjustment of 2 levels for obstruction of justice under USSG §3C1.1.

 The argument is based on the view that Mr. Jumaev lied during trial when he

 testified that the $300 he sent Mr. Muhtorov was a partial repayment of the debt

 he owed the latter for his financial contribution a year earlier towards Mr.

 Jumaev’s immigration bond. The argument posits that the $300 was really

 intended as a payment for the support of the IJU and that the jury’s verdicts

 reflect their rejection of Mr. Jumaev’s testimony; therefore, Mr. Jumaev lied and

 the adjustment thus applies. This is a sophistical argument since it does not

 follow that the jury’s verdict means Mr. Jumaev committed perjury.

       Application Note 2 to §3C1.1 states, “This provision is not intended to

 punish a defendant for the exercise of a constitutional right.” Mr.Jumaev’s denial

 of guilt and right to testify in his own defense are rights afforded him by the

 Constitution. The Note further explains, “In applying this provision in respect to

 alleged false testimony or statements by the defendant, the court should be

 cognizant that inaccurate testimony or statements sometimes may result from

 confusion, mistake, or faulty memory and, thus, not all inaccurate testimony or

 statements necessarily reflect a willful attempt to obstruct justice.” Mr. Jumaev’s

 explanation of the $300 was not concocted for trial but was rather his long-held

 position from the time he exchanged his cash for Zafar’s check in March 2011, to
                                         16
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 17 of 32




 his re-confirmation of that explanation to Zafar in February 2012, to his consistent

 explanation to his family members during that month, to his unwavering and

 consistent explanation to the FBI during his pre-arrest interviews of that month,

 and during the post-arrest interrogation a month later. The only determination

 made by the jury’s verdicts is their belief that Mr. Jumaev’s conduct satisfied one

 of the many ways in which his guilt could be determined.

                               V. COMPARABLE CASES

       The Court, after the verdict was announced, requested that counsel

 research other cases filed under 18 USC § 2339B and their concomitant

 sentences. The Gvt SS contains a matrix that lists 23 cases where defendants

 were convicted of violating 18 U.S.C. § 2339B. However, the list only includes

 cases involving convictions after trial rather than pursuant to plea agreements.

 See Gvt SS, Attachment A.2 The PSR also contains a matrix listing 27 such

 cases, although they do not appear to be limited to trial convictions. See PSR,

 Exhibit B. Interestingly, only 2 of the same cases appear in both matrices.3 The

 undersigned has found 17 additional cases not listed in either the Gov SS or the

 PSR, which are described in a matrix attached hereto as Exhibit A.



 2
   The Government’s selection of only cases where convictions were obtained at trial,
 rather than by plea agreement, seems to reveal its position that Mr. Jumaev should be
 required to pay a “trial tax” for exercising his constitutional right to a jury trial. This
 position is further evinced by the Government’s argument that §3C1.1 should be
 applied.
 3
   The two cases listed in both matrices involve the defendants named Amina Garah Ali
 and Hawo Hassan, who were both codefendants.
                                            17
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 18 of 32




       Cases like Mr. Jumaev’s, however, are scarce and arguably non-existent.

 As the PSR cogently notes at R-3:

       What is clear from this research is despite a significant range of
       conduct that can produce a conviction for material support, the
       sentencing guidelines result in nearly identical guideline range in
       each case, regardless of the underlying conduct. . . . The difficulty is
       that under the guidelines, there is no distinction between less and
       more serious offenses, those in which actual harm occurred and
       those where it did not.

       Undoubtedly, Mr. Jumaev’s case falls within the most benign category of

 material support cases. Mr. Jumaev caused no actual harm, and, regardless of

 intent, he was not motivated by fanaticism, political ideology, malevolence or the

 desire to cause harm to any person or government.

        A few cases are instructive. United States v. Esse, No. 14-cr-000369(1)

 (MJD), (D. Minn.), is a recent case and apt comparison. Amina Esse pleaded

 guilty to an information alleging conspiracy to provide material support to a

 foreign terrorist organization. The facts were described by the prosecution’s

 sentencing statement in Esse:

       [T]he defendant provided material support to the foreign terrorist
       organization al Shabaab when she delivered money repeatedly
       to her co-conspirators knowing that money was destined for, and
       received by, al Shabaab. The defendant did so knowing that al
       Shabaab had been designated as terrorist organization by the
       United States and her contributions to al Shabaab were unlawful.
       However, at the time she made these contributions, Ms. Esse was
       convinced that supporting al Shabaab was not only justifiable, but
       also an obligation. During the period that encompassed the
       defendant’s criminal conduct, she participated in dozens of
       discussions with others about al Shabaab’s activities, the success or
       failure of various al Shabaab violent attacks and operations, the
                                         18
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 19 of 32




       success or failure of Somali government and AMISOM actions in
       Somalia, and the status of affairs in Somalia regarding the Somali
       government. The defendant was well-versed about al Shabaab and
       their operations in Somalia. At the time, she believed in them.

 Id., Doc. 27, at 9-10 (quoting Esse’s PSR). Ms. Esse was sentenced on April 27,

 2017, to a five-year term of probation. Id., Doc. 33.

       That Ms. Esse received the benefit of a USSG § 5K1.1 reduction does not

 diminish the comparison. Unlike Ms. Esse, Mr. Jumaev had nothing to offer the

 Government for cooperation. Not only did Mr. Jumaev have no relationship to the

 IJU, he never knew a single member of that organization. He never

 communicated with the IJU, nor succeeded in logging onto its propaganda

 website, sodiqlar.com.

       Awan, post-appeal, is also instructive. Originally, the district court

 calculated Awan’s Guidelines range without the 3A1.4 terrorism adjustment,

 resulting in a Guidelines range of 168 to 210 months, and sentenced Awan to

 168 months in prison. Awan, 607 F.3d at 312. After remanding for resentencing,

 the district court resentenced Awan to the same 168 month sentence that had

 originally been imposed while rejecting the government’s request on remand of a

 45-year sentence. See attached Exhibit B,_Awan Amended Judgment with

 transcript of sentencing order). The government stressed that the trial evidence

 showed that Awan made international money transfers of between $60,000 to

 $70,000 to the foreign terrorist organization, recruited another person to travel to

                                          19
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 20 of 32




 Pakistan to undergo military training, and had a criminal history that included

 conspiracy for credit card fraud involving over $2,000,000. Id., Tr, at 24-27. The

 resentencing judge, in focusing rightfully so on Awan the individual, rebuffed the

 government’s request for such a punitive sentence and observed that:

       Just as tellingly, the recounting and recordings of defendant’s
       conversations with Harjit, which were part of the trial record, and his
       discussions with at least one other prison inmate, which were
       presented to Judge Sifton but were not part of the trial record, peg
       him precisely, as Judge Sifton characterized him, as “a boaster, a
       salesman and a ... terrorist groupie,” the latter of which I understand
       to refer to someone who has sought to align himself with an
       infamous organization not because he zealously identifies with the
       ideology of its cause, but rather as a bizarrely misguided, albeit
       dangerous gesture of self-aggrandizement. Defendant’s incessant
       name-dropping of notorious terrorists and terrorist incidents and his
       obviously exaggerated boasting at least in some instances -- of
       close association with powerful terrorists strongly suggest that
       although defendant plainly impelled himself to participate in terrorist
       conduct, he did so for atypical reasons unrelated to the political and
       religious ideology that generally drives defendants who commit
       crimes of terrorism.
                                         ***
       I am not, in the case of defendant. considering an offender whose
       reasons to recidivate derive from political or other ideological
       fanaticism so strong that it is doubtful that they will ever abate
       regardless of the length of his incarceration.

 Id. at 27-28. Mr. Jumaev, who has no criminal record, did not engage in any

 recruiting activities, and advanced only the modest sum of $300 should be

 treated even more generously than Mr. Awan.

       In United States v. Benkahla, 501 F. Supp.2d 748 (E.D. Va. 2007), the

 district court imposed the terrorism enhancement based upon the defendant’s

                                         20
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 21 of 32




 obstruction of an investigation of a federal crime of terrorism. The district court

 then found that a § 4A1.3 downward departure or variance under § 3553(a) was

 warranted. As described by the Fourth Circuit in affirming the sentence:

      Benkahla’s Guidelines range was thus 210 to 262 months. But the
      court thought the case called for a downward departure under §
      4A1.3 or (in the alternative) a variance under 18 U.S.C. § 3553(a).
      “Sabri Benkahla is not a terrorist,” the court stated. Benkahla, 501 F.
      Supp. 2d at 759. He “has not committed any other criminal acts” and
      his likelihood of doing so upon release is “infinitesimal.” Id. Also,
      Benkahla’s former co-defendants, the other ten members of the Dar
      al-Arqam paintball group, had received lesser sentences for what
      were more dangerous and more violent offenses, a disparity the court
      found “staggering.” Id. at 762. The court thus treated Benkahla as
      having a Category I criminal history and sentenced him to 121
      months.

 United States v. Benkahla, 530 F.3d 300, 305-06 (4th Cir. 2008).

         VI. CALCULATION OF THE ADVISORY GUIDELINES RANGE

        As Mr. Jumaev has discussed in Section IV above, the Court should

 reject §3A1.4 as applicable to the facts of this case and instead focus its analysis

 with USSG, § 2M5.3.

       That guideline carries a base offense level of 26.

       USSG § 3D1.2 (a) states that all counts involving substantially the same

 harm shall be grouped together into a single Group (a) when counts involve the

 same victim and the same act or transaction. Since USSG § 3D1.2 does not list

 § 2M5.3 as a guideline that is covered under the grouping rules, nor specifically

 excludes it from grouping, a case-by-case determination must be made based


                                         21
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 22 of 32




 upon the facts of the case and the applicable guidelines. Based upon the facts of

 this case and Mr. Jumaev’s alleged role in it, Counts 1 and 2 should be grouped

 together and calculated at a base offense level of 26. The PSR agrees at ¶ 32.

        USSG § 2M5.3 (b)(1)(E), provides for a two level increase if funds or other

 material support or resources were used with intent, knowledge, or reason to

 believe they are to be used to commit or assist in the commission of a violent act.

 Contrary to the Gvt SS at 9 and PSR at ¶ 34, this adjustment does not apply.

 Specifically, USSG § 2M5.3, comment. (n.2) Departure Provisions states:

       (A). In General - In determining the sentence within the applicable
       guideline range, the court may consider the degree to which the
       violation threatened a security interest of the United States, the
       volume of funds or other material support or resources involved, the
       extent of planning or sophistication, and whether there were multiple
       occurrences. In a case in which such factors are present in an
       extreme form, a departure from the guidelines may be warranted.

       Because Mr. Jumaev’s role in the offense was appreciably less than Mr.

 Muhtorov’s, the offense level should be decreased by 2 to 4 levels pursuant to

 USSG §3B1.2(a) and (b). For example, pursuant to App. N. 4, a defendant’s lack

 of knowledge or understanding of the scope and structure of the enterprise and

 of the activities of others is indicative of a role as a minimal participant. Id.

 Contrary to Mr. Muhtorov’s activities, Mr. Jumaev had no contact with the IJU or

 the CHS, was not aware of the plans contemplated by Mr. Muhtorov with either of

 those sources, and was unaware of Mr. Muhtorov’s pledge of loyalty to the IJU.

 As a result, Mr. Jumaev’s offense level should be decreased by at least 3 levels,

                                         22
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 23 of 32




 namely, to offense level 23.

       Mr. Jumaev has no criminal history, therefore he falls within Criminal

 History Category (“CHC”) I.

       With a total offense level of 23 and CHC I, the advisory guideline range is

 46 to 57 months. If a total offense level of 26, his advisory guideline range would

 be 63 to 78 months. At an offense level of 28, the advisory guideline range would

 be 78 to 97 months. He has already been detained 76 months, which, with the

 calculation of good time, means he has already served the equivalent of a

 sentence of 90 months.

       Alternatively, if §3A1.4 is deemed applicable to this case, then the base

 offense level of 26 is increased by 12, resulting in an adjusted offense level of 38.

 Pursuant to §3A1.4(b), Mr. Jumaev’s CHC would be VI The advisory guideline

 range from these calculations is 360 months to life, but would be reduced to 180

 months, the statutory maximum. In such event, however, he would be eligible for

 any applicable downward departures and/or a variant sentence in accordance

 with Chapter 5, Parts H and K of the Guidelines, the sentencing purposes set

 forth in §3553(a), and characteristics enumerated in § 3661.

       VII. DEPARTURES AND OTHER 3553(a) SENTENCING FACTORS

       A. A Variant Sentence is Appropriate

       If reliable information indicates that the defendant’s criminal history

 category substantially over-represents the seriousness of the defendant’s

                                          23
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 24 of 32




 criminal history or the likelihood that the defendant will commit other crimes, a

 downward departure may be warranted. §4A1.3(b). Here, except for the

 enhancements contained in §3A1.4, which have nothing to do with the

 calculations customarily attributed to an individual’s criminal history category, Mr.

 Jumaev would fall within CHC I since zero points would have been assigned to

 him. The PSR at ¶ 106 is in accord.

       It is well established that “courts can and should engage in a holistic

 inquiry of the § 3553(a) factors.” United States v. Barnes, 890 F.3d 910, 916

 (10th Cir. 2018) (internal quotation marks omitted) (trial court’s decision affirmed

 of variant sentences of 12 months and 6 months imprisonment, respectively, to

 two prison administrators who physically abused prisoners in a variety of ways

 and whose advisory guidelines range calculated to 70 to 87 months). It is well

 established that a “variance can be imposed without compliance with the rigorous

 requirements for departures.” United States v. DeRusse, 859 F.3d 1232, 1237

 (10th Cir. 2017) (quoting United States v. Gantt, 679 F.3d 1240, 1247 (10th Cir.

 2012). Under 18 U.S.C. §§ 3553(a) and 3661, a variant sentence is warranted.

       Mr. Jumaev believes a sentence to time served is a sufficient but not

 greater sentence than necessary to comply with the purposes set forth in

 paragraph 2 of the subsection and takes into account the factors set forth in

 paragraphs 1 through 7. See, e.g., DeRusse, 859 F.3d at 1337 (upholding




                                          24
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 25 of 32




 variance from a 108-135 months guidelines range down to 70 days already

 served).

       While the PSR and previous sections of this Statement address the nature

 and circumstances of the offense, the background, history, and characteristics of

 Mr. Jumaev, the kinds of sentences and guideline range for his category of

 offense, what should also be considered by the Court is just how much

 punishment of Mr. Jumaev is enough in order to reflect the seriousness of his

 crime, promote respect for the law, to afford adequate deterrence, and to protect

 the public from further crimes. The Government wants more retribution. Mr.

 Jumaev disagrees and believes the PSR at R-2 thru R-4 provide a sound

 framework for an analysis under 3553(a) and a concomitant variant sentence.

        In addition to the PSR’s analysis, the Court knows from hearing the

 testimony during trial that the alleged offenses were non-violent in nature. The

 funds were supposedly earmarked for a DFTO comprised of about ten people

 camped in the mountains of North Waziristan, Pakistan. Many of this small group

 had fled the dictatorship of Uzbekistan, whose claim to fame since its

 independence has been its bottom world ranking for its persecution of religious

 observance and nearly all other basic human rights.

       As noted previously, Mr. Jumaev has served the equivalent of a sentence

 of 90 months for having allegedly conspired and attempted to provide $300 of

 material support to the IJU. His confinement at a pretrial detention facility

                                        25
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 26 of 32




 represents real “hard time” – harder and more punitive than if he had been

 sentenced to a federal prison. It appears that federal prisons have greater

 recourses than pretrial detention facilities, such as rehabilitation programs,

 education, exercise, participation in crafts and hobbies, access to better medical

 attention, mental health counseling, and access to participation in group religious

 practices.

        In addition to his period of detention, Mr. Jumaev during that time has not

 seen any members of his immediate family except for the ten minutes or so in the

 courtroom that the Court compassionately accorded Mr. Jumaev and his middle

 son, Davlat, after the latter testified remotely via video feed from Europe during

 the trial. On the occasions when Mr. Jumaev was able to speak to his wife and/or

 sons during his detention, those calls were monitored and obviously lacked any

 privacy. Mr. Jumaev was moreover limited to the number of times he was able to

 speak to his family by virtue of his impecunious situation. Were it not for the

 benevolence of a few friends, Mr. Jumaev would not have been able to speak to

 his family at all.

        Although Mr. Jumaev performed his familial roles as head of household,

 primary breadwinner, adviser, and confidant from the time he arrived in this

 country in April 2000 until his arrest on March 15, 2012, he suffered the

 humiliation and embarrassment of having lost those roles once he was arrested.

 During trial, the Government made a point to emphasize that emasculation when

                                         26
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 27 of 32




 it suggested that Mr. Jumaev played a de minimus role in the upbringing of his

 children while living in this country.

       Now that Mr. Jumaev’s case has concluded in the trial court, once his

 detention ends in this case, the immigration court will resume its removal case

 against him. As a result of his conviction, he will no longer be entitled to request

 asylum in this country. His only avenue of relief is to carry his burden of showing

 he will likely be tortured by the Uzbek authorities, if he is removed to that country.

 If he fails in his burden and is removed to Uzbekistan he has been warned that

 he will likely face dire consequences as soon as he arrives there, notwithstanding

 the current regime and successor to President Karimov has showed some signs

 of improving the lot of Uzbeks in that country. That improvement will unlikely be

 accorded someone convicted of terrorism-related offenses.

       Conversely, if Mr. Jumaev prevails in his burden, the United States has a

 period of time to try to find another country that will take Mr. Jumaev. That seems

 an unlikely prospect. Mr. Jumaev will thus remain here for however long it takes

 to find him another country, but it could be never. In such event, his family would

 not likely be granted visas or other entry into this country, as evidenced by the

 roadblocks they incurred when trying to travel to this country to testify during Mr.

 Jumaev’s trial.    See attached Exhibit C an opinion letter from Mr. Jumaev’s

 immigration expert, Jeff Joseph, Esq., discussing many if the above-described

 immigration consequences.

                                          27
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 28 of 32




       B. A Downward Variance is Warranted if § 3A1.4 is Applied

       A court may depart downward if the defendant committed a single criminal

 occurrence or single criminal transaction that (1) was committed without

 significant planning; (2) was of limited duration; and (3) represents a marked

 deviation by the defendant from an otherwise law-abiding life. §5K2.20. This

 case was Mr. Jumaev’s first experience with the criminal justice system.

 According to the Government’s evidence, Mr. Jumaev did not participate in any

 of the planning of the alleged culpable conduct. And, it apparently took place

 during a couple of phone calls in March of 2011.

       Further, as noted above, Kimbrough v. United States allows courts to avoid

 a rigorous application of a particular guideline to the offense at hand and in the

 process to disagree with the policy considerations behind that guideline. No more

 guideline is apt for such a critical analysis than §3A1.4, since its broad scope

 permits its application to the most violent kinds of material support and in like

 manner to the most benign. Thus, a person, who is moved by the plight of young

 children living in the camp of a DFTO and elects to contribute a few hundred

 dollars to the DTO in order to assist in the feeding and clothing of those children,

 is subject to the same enhancement under 3A1.4 as the individual, who provides

 explosive devices, personnel in the form of himself and others, and raises of

 thousands of dollars for and travels to and trains at a DFTO. Similarly, an

 individual who has been convicted of contributing a small sum of money to a

                                         28
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 29 of 32




 DFTO whose membership has dwindled down from its heyday of more than a

 couple hundred members to less than a dozen members, i.e., an essentially

 “spent” organization, at the time of the contribution and which, in addition, hadn’t

 carried out a terrorist activity in several years, is subject to the same

 enhancement as so called “martyrs” for ISIS, which deploys soldiers throughout

 Europe and the international globe to wreck its horror. The policy considerations

 for applying the same enhancement to such disparate conduct are flawed and

 should not apply to the benign, non-violent, and aberrant conduct involved in this

 case.

         An instructive article regarding the deconstruction of §3A1.4 is James P.

 McLoughlin, Jr., Deconstructing United States Sentencing Guidelines Section

 3A1.4: Sentencing Failure in Cases of Financial Support for Foreign Terrorist

 Organizations,      28    Law     &     Ineq.    51     (2010),     available    at:

 http://scholarship.law.umn.edu/lawineq/vol28/iss1/2. There, the author explains

 that prior to the events of September 11, 2001, there were no base offense

 Guidelines for federal crimes of terrorism, but when Congress passed the USA

 PATRIOT Act in the wake of September 11, the Sentencing Commission enacted

 §3A1.4. Id., at 52-53.

         §3A1.4, enacted to punish hard-core terrorists, does not fit Mr. Jumaev’s

 behavior. McLoughlin aptly explained that:

         U.S.S.G. section 3A1.4 represents bad anti-terrorism policy for
         several reasons. First, the Guideline increases a defendant’s
                                         29
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 30 of 32




       Criminal History Category to a level VI-the most culpable. The shift
       to Criminal History Category VI ensures that a defendant will be
       sentenced as if he or she were a career criminal, with no empirical
       evidence that this is true or fair (under the considerations
       contemplated in 18 U.S.C. § 3553). Second, the Guideline
       automatically and uniformly increases a defendant’s offense level,
       ensuring a defendant will be sentenced as if his or her offenses are
       among the most serious offenses addressed by the Sentencing
       Guidelines, regardless of where the offense level fits on the
       spectrum of “material support.” For example, U.S.S.G.Section 3A1.4
       punishes the defendant who sends $500 to the social services arm
       of a DFTO, such as Hezbollah or Hamas, the same as the defendant
       who attempts to bomb the United Nations, or who provides weapons
       of mass destruction to al Qaeda. As a result, the sentences under
       U.S.S.G. section 3A1.4 are often disproportionate to the conduct of
       conviction.

       Finally, the crushing increases in prison time under U.S.S.G. section
       3A1.4 can be imposed based upon a judge’s finding under a
       preponderance of the evidence standard, rather than jury findings
       under a beyond a reasonable doubt standard, giving rise to
       constitutional concerns and questions of fundamental fairness in our
       justice system. When comparing U.S.S.G. section 3A1.4 with the
       statutory maximum penalties for terrorism-related offenses-which
       should reflect Congressional judgment about the sentences
       appropriate to deter and punish those offenses-and when
       contrasting its impact with that of other Sentencing Guidelines
       addressing terrorism, U.S.S.G. section 3A1.4’s flaws become
       apparent.

 Id. at 57-58.

       The balance of Mr. McLoughlin’s well-considered article then addresses

 the concerns § 3A1.4 raises by focusing on cases involving material support in

 violation of 18 U.S.C.§ 2339B, the basic statute that criminalizes providing

 material support for a DFTO and the statute under which Mr. Jumaev has been

 convicted.

                                        30
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 31 of 32




                                 VII. CONCLUSION

       The court in Barnes thoughtfully recognized that “[s]entencing is both art

 and science, and it may be the hardest job our district judges undertake.” 890

 F.3d at 921. And, “It has been uniform and constant in the federal judicial

 tradition for the sentencing judge to consider every convicted person as an

 individual and every case as a unique study in the human failings that sometimes

 mitigate, sometimes magnify, the crime and the punishment to ensue.” Gall v.

 United States, 552 U.S. 38, 52 (2007).

       How much punishment is sufficient for Mr. Jumaev taking into account all

 of the factors under 3553(a)? Based on the arguments advanced by him, he is

 entitled to a variant sentence of time served.

       Dated this 28th day of June, 2018.

                                       Respectfully submitted,

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                                          31
Case 1:12-cr-00033-JLK Document 1908 Filed 06/28/18 USDC Colorado Page 32 of 32




                           CERTIFICATE OF SERVICE

        I hereby certify that on June 28, 2018, I electronically filed the foregoing
 with the Clerk of Court using the CM/ECF system which will send notification of
 such filing to counsel of record.

                                                    /s/ Pat Austin
                                                    Pat Austin




                                         32
